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         DECLARATION OF TARLIS MARCONE DE BARROS GONCALVES

I, Tarlis Marcone De Barros Goncalves, hereby declare under penalty of perjury pursuant to 28
U.S.C. § 1746 that the following is true and correct.

   1. I came to the United States from Brazil to seek asylum. I am a transgender woman and I
      fled Brazil because I was repeatedly threatened and would never be safe there.

   2. On or around February 15, 2025, I entered the United States from Mexico near El Paso,
      Texas where I was apprehended by U.S. authorities. An officer asked if I would sign a
      deportation order, but I refused because I am afraid for my life in Brazil.

   3. I was transferred to Otero County Processing Center in New Mexico. I believe I was held
      there between February 17 to February 26, 2025.

   4. In Otero, I was put in a unit with around 49 other men. I told the officers that I am a
      transgender woman and was uncomfortable being housed with men. I also told them I
      was being harassed by men in the hallways and in the cell, but nothing was done.

   5. After a week and a half, a guard came to get me and they shackled me at my feet, my
      hips, and my wrists. They didn’t say anything to me about my case and where I was
      going. I believe it was February 26, 2025 because it was Wednesday.

   6. I was taken to another facility where I was forced to change my clothes. Then I was taken
      on a bus to the airport to board a military plane.

   7. When the plane landed the next day, they told us we were in Guantánamo, Cuba. I had no
      idea what was going on.

   8. When I first arrived, I was so scared that I didn’t sleep for two days. Finally, after two
      days, they gave me two pills so I could sleep.

   9. I was housed in a room with five men, as if I am a man. I told the guards that I am a
      transgender woman and that I didn’t feel comfortable or safe being housed with men, but
      they didn’t care or do anything to address my concerns.

   10. I’m not sure what part of the base they put me in, but it was a building with two floors.
       There were guards outside with rifles. In the room there were several bunk beds and one
       restroom. There was no door to the restroom so the men I was housed with and the guards
       stationed at the door could see everything inside.
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11. Every time I went to the bathroom or when I showered, I was in view of everyone – there
    was no door to provide me with any privacy. As a woman, it was a dehumanizing
    experience. I was also only given one pair of clothes to wear the entire time.

12. I asked the supervising officer to do something to protect me because I am transgender. I
    cried, told her I had not signed any deportation paperwork, and requested to contact my
    family and my attorney. But she refused to do anything.

13. I repeatedly stated that I was afraid to go back to Brazil and asked many times to speak to
    my family and my attorney while I was at Guantanamo. I was refused each time.

14. I was also not given any information – orally or written – about my right to call an
    attorney.

15. The guards there did not treat me like I was human. We were only let outside to see the
    sun for a maximum of 25 minutes a day. Every time I was let outside or went back inside,
    I was searched by male guards. I even complained about it and requested that I not be
    searched by men since I am a woman. The guard only responded in English and nothing
    changed.

16. There was also very little food to eat and I was constantly hungry. We only got two meals
    a day – once in the morning and once in the afternoon. The meals would only have salad,
    rice, a small piece of meat, and one fruit.

17. A few days later, which I believe was March 2nd because it was Sunday, the guards came
    and took me. They shackled me again on my wrists, feet, and hips and put me back on a
    plane. They didn’t tell me where we were going. I didn’t know I was back in the United
    States until we landed and the ICE officer told me we were in Miami.

18. They shackled me so tightly that I was in pain for several days after the flight. They had
    to give me pain medication.

19. I have been detained in Pine Prairie, Louisiana since arriving back in the United States. I
    have also told the officers here that I am transgender so they are holding me in an isolated
    cell.

20. Despite how difficult the conditions were at Otero and are right now in Pine Prairie, the
    conditions in Guantanamo were still far worse. At least there is enough food here and I
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       am able to have phone calls with my attorney and family.

   21. On March 11, 2025, the officers told me I will be transferred to another facility on March
       12, 2025.

   22. I fear I will be killed if I am sent back to Brazil. I would like a chance to present my case
       and to be reunited with my family in the United States in safety.

   23. Because I am currently in detention at Pine Prairie and without stable internet connection,
       I could not sign this declaration myself but gave consent to Lara Finkbeiner to sign on my
       behalf.

Executed on the 12th day of March, 2025 at Pine Prairie, LA.

/s/ Tarlis Marcone De Barros Goncalves
Tarlis Marcone De Barros Goncalves
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                                        ATTESTATION

       On March 12, 2025, I, Lara Finkbeiner, personally spoke with Tarlis Marcone De Barros

Goncalves, and read the foregoing declaration to her in English over the phone. Through a

Portuguese interpreter, Sandra Lopez, Ms. De Barros Goncalves affirmed that she understood the

translation and that the information in the above declaration is true and accurate.

Due to Ms. De Barros Goncalves being in detention, it was not possible to obtain a written

signature on the above declaration. In addition to confirming that the information in the above

declaration is true, Ms. De Barros Goncalves also gave me verbal consent to sign on her behalf.



I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.


______________________________
Lara Finkbeiner
Director of Global Pro Bono
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                             CERTIFICATE OF TRANSLATION

       I, Sandra Lopez, certify that I am fluent in both English and Portuguese. On March 12,

2025, I personally spoke with Tarlis Marcone De Barros Goncalves and read the foregoing

declaration to her, translated into Portuguese faithfully and accurately, over the phone. Ms. De

Barros Goncalves affirmed that she understood my translation and that the information in the

above declaration is true and accurate.

I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.
